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                                UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEW JERSEY

                                             :

CATHERINE KLOTZ                              :

                  Plaintiff,                 :     Civil Case No.:

vs.                                          :

GC SERVICES, LP,                             :

                  Defendant.                 :

                                             :



                                    VERIFIED COMPLAINT

         Plaintiff, CATHERINE KLOTZ AND JOHN KLOTZ (Plaintiffs), through her attorneys,

KURTZ LAW GROUP, LLC, alleges the following against Defendant, GC SERVICES.

(Defendant):

                                       INTRODUCTION

      1. Count I of Plaintiff’s Complaint is based on the Fair Debt Collection Practices Act

         (FDCPA), 15 U.S.C. 1692, et seq.

                                            PARTIES
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 2. Plaintiff is a natural person residing in Warren, New Jersey 07059.

 3. Defendant is a national debt collection corporation with a business office located in New

    Jersey.

 4. Plaintiff is a consumer as that term is defined by 15 U.S.C. 1692a(3), and according to

    Defendant, Plaintiff allegedly owes a debt as that term is defined by 15 U.S.C. 1692a(5).

 5. Defendant is a debt collector as that term is defined by 15 U.S.C. 1692a(6), and sought

    to collect a consumer debt from Plaintiff.

 6. Defendant acted through its agents, employees, officers, members, directors, heirs,

    successors, assigns, principals, trustees, sureties, subrogees, representatives, and

    insurers.

                              JURISDICTION AND VENUE

 7. Jurisdiction of this court arises pursuant to 15 U.S.C. 1692k(d), which states that such

    actions may be brought and heard before “any appropriate United States district court

    without regard to the amount in controversy.”

 8. Defendant conducts business in the State of New Jersey, and therefore, personal

    jurisdiction is established.

 9. Venue is proper pursuant to 28 U.S.C. 1391(b)(2).

                                   FACTUAL ALLEGATIONS

 10. In or around September of 2013, Defendant placed collection calls to Plaintiff seeking

    and demanding payment for an alleged consumer debt.

 11. Plaintiff’s alleged debt owed arises from transactions on a debt for personal, family, and

    household purposes.

 12. Defendant called Plaintiff’s telephone numbers at (732) 356-0268 and (732) 586-5413.




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   13. In or around September of 2013, Defendant called Plaintiff and left a voicemail message

      on Plaintiff’s answering machine.

   14. In the voicemail message, Defendant failed to meaningfully disclose the company’s

      name or the nature of the call or state that the call was from a debt collector.

   15. In the voicemail message, Defendant directed Plaintiff to call back telephone number

      800-926-3136 x3002, which is a number that belongs to Defendant. See Exhibit A.

   16. Defendant is using false, deceptive and misleading means in connection with attempting

      to collect a debt by not identifying the purpose of its phone calls or that they are an

      attempt to collect a debt.



                                             COUNT I

   DEFENDANT VIOLATED THE FAIR DEBT COLLECTION PRACTICES ACT

   17. Defendant violated the FDCPA based on the following:

          a. Defendant violated §1692d of the FDCPA by engaging in conduct the natural

             consequence of which is to harass, oppress, or abuse the Plaintiffs.

          b. Defendant violated §1692d(6) of the FDCPA by placing telephone calls without

             meaningful disclosure of the caller’s identity because Defendant did not provide

             the identity of the caller or the nature of the debt.

          c. Defendant violated §1692e of the FDCPA by using false, deceptive or misleading

             representation with the collection of the debt.

          d. Defendant violated §1692e(11) of the FDCPA by failing to disclose that the call

             was from a debt collector.

      Wherefore, Plaintiff, CATHERINE KLOTZ, respectfully requests judgment be entered

against GC SERVICES for the following:


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   18. Statutory damages of $1,000.00 pursuant to the Fair Debt Collection Practices Act, 15

       U.S.C. 1692k.

   19. Costs and reasonable attorneys’ fees pursuant to the Fair Debt Collection Practices Act,

       15 U.S.C. 1692k.

   20. Any other relief that this Honorable Court deems appropriate.

                  CERTIFICATION PURSUANT TO LOCAL RULE 11.2

       Pursuant to Local Rule 11.2, I certify that this matter in controversy is not the subject of

any other action pending in any court, arbitration, or administrative proceeding.



  DATED: December 31, 2013            The Law Offices of Jennifer M. Kurtz, LLC


                                      By: /s/ Dennis R Kurz

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                                             CATHERINE KLOTZ AND JOHN KLOTZ




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                VERIFICATION OF COMPLAINT AND CERTIFICATION
                         (STATE OF NEW JERSEY)

        Plaintiffs, CATHERINE KLOTZ AND JOHN KLOTZ, says as follows:

   1.      We are the Plaintiffs in this civil proceeding.
   2.      We have read the above-entitled civil Complaint prepared by my attorneys and I
           believe that all of the facts contained in it are true, to the best of my knowledge,
           information and belief formed after reasonable inquiry.
   3.      We believe that this civil Complaint is well grounded in fact and warranted by
           existing law or by a good faith argument for the extension, modification or reversal of
           existing law.
   4.      We believe that this civil Complaint is not interposed for any improper purpose, such
           as to harass any Defendant(s), cause unnecessary delay to any Defendant(s), or create
           a needless increase in the cost of litigation to any Defendant(s), named in the
           Complaint.
   5.      We have filed this Complaint in good faith and solely for the purposes set forth in it.
   6.      Each and every exhibit I have provided to my attorneys which has been attached to
           this Complaint is a true and correct copy of the original.
   7.      Except for clearly indicated redactions made by my attorneys where appropriate, I
           have not altered, changed, modified or fabricated these exhibits, except that some of
           the attached exhibits may contain some of my own handwritten notations.



          Pursuant to 28 U.S.C. § 1746(2), I, CATHERINE KLOTZ AND JOHN KLOTZ,
hereby declare (or certify, verify or state) under penalty of perjury that the foregoing is true and
correct.




Dated:______________                           ________________________________________
                                                     CATHERINE KLOTZ,
                                                           Plaintiff


Dated:______________                           ________________________________________

                                                      JOHN KLOTZ,
                                                           Plaintiff




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                                         EXHIBIT A

This message is for Catherine Klotz. My name is “Steve Maloff.” I would appreciate you calling

me back. You can reach me at 1-800-3136 extension 3002. Thank you.




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